            Case 2:06-cr-00319-JLR             Document 174   Filed 11/03/06     Page 1 of 1



 1

 2

 3

 4

 5                            UNITED STATES DISTRICT COURT
                        for the WESTERN DISTRICT of WASHINGTON
 6

 7    UNITED STATES OF AMERICA,                        )
                                                       )
 8                                Plaintiff,           )
 9                         vs.                         )
                                                       )              CR06-319 JLR
10
      DAVID EISELE,                                    )
11                                                     )
                                  Defendant.           )           MINUTE ORDER
12
            The following Minute Order is made at the direction of the Court, the Honorable
13
     James L. Robert, United States District Judge:
14

15
            The defendant, David Eisele, is hereby directed to appear for Arraignment on
16
     Friday, December 1, 2006 at 9:30am
17
            The hearing will be conducted before the Honorable John L. Weinberg, United States
18
     Magistrate Judge, in Courtroom 12B, U.S. Courthouse, Seattle, Washington.
19

20

21

22

23                                Dated this 3rd day of November , 2006
24

25                                /S/ PETER H. VOELKER
                                   Deputy Clerk
26   MINUTE ORDER
